              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:07cr33-10


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                    ORDER
                            )
                            )
JOHN WILSON PATTON.         )
                          )

      THIS MATTER is before the Court sua sponte.

      In October 2011, the United States Court of Appeals for the Fourth

Circuit remanded this case for re-sentencing. United States v. Patton, 2011

WL 4600665 (4 th Cir. 2011). The re-sentencing will result in a decrease in the

Defendant’s period of incarceration.

      In February 2012, the Court appointed counsel for the Defendant and

ordered that the Defendant be transported to this District for re-sentencing.

[Doc. 427]. The United States Marshal subsequently advised the Court that

the Defendant, who is in custody at a federal correctional medical facility, was

too ill to travel. Counsel for the Defendant contacted him and asked if the

Defendant would consent to being sentenced in absentia. Counsel reported

to the Court that the Defendant would not so consent.




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      The Court will now require counsel to make such inquiry again. Counsel

shall also advise the Court as to the Defendant’s medical condition, including

a statement as to whether his medical condition precludes or seriously limits

his ability to travel to this District.

      IT IS, THEREFORE, ORDERED that on or before fifteen (15) days from

entry of this Order, defense counsel shall file written response in accordance

herewith.

                                              Signed: September 26, 2012




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